     Case: 1:22-cr-00323 Document #: 71 Filed: 03/15/23 Page 1 of 1 PageID #:479

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:22−cr−00323
                                                          Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, March 15, 2023:


        MINUTE entry before the Honorable Steven C. Seeger as to Raheim Hamilton:
The Court sets an in−person status hearing for March 23, 2023 at 9:00 a.m. Mailed notice.
(jjr, )




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